Case 1:16-cv-03526-JMS-DML Document 20 Filed 05/24/17 Page 1 of 2 PageID #: 86



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

DENNIS TOOLEY,                            )
an individual,                            )
                                          ) CASE NO.: 1:16-cv-03526-JMS-DML
              Plaintiff,                  )
vs.                                       )
                                          )
NAPIER LEGACY LLC,                        )
an Indiana Limited Liability Company,     )
                                          )
                                          )
              Defendant.                  )
_________________________________________ )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff and Defendant, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, hereby stipulate to dismiss this action with prejudice and, except as otherwise agreed,

each party shall bear its respective fees and costs.

Dated: May 24, 2017

Respectfully submitted,                                Respectfully submitted,


/s/ Louis I. Mussman                                   /s/ Jeanne M. Hamilton
Louis I. Mussman, Esq.                                 Jeanne M. Hamilton (#16053-49)
Bar No. 597155                                         SmithAmundsen, L.L.C.
Ku & Mussman, P.A.                                     201 North Illinois Street, Suite 1400
18501 Pines Boulevard, Suite 209-A                     Capital Center South Tower
Pembroke Pines, FL 33029                               Indianapolis, IN 46204
Tel: (305) 891-1322                                    Telephone: 317-464-4120
Fax: (305) 891-4512                                    Email: JHamilton@saLAWus.com
Louis@KuMussman.com

and                                                    Counsel for Defendant
                                                       Napier Legacy LLC
Eric C. Bohnet, Esq.
Attorney No. 24761-84

                                                  1
Case 1:16-cv-03526-JMS-DML Document 20 Filed 05/24/17 Page 2 of 2 PageID #: 87



Attorney at Law
6617 Southern Cross Drive
Indianapolis, Indiana 46237
Tel: (317) 750-8503
ebohnet@gmail.com

Counsel for Plaintiff
Dennis Tooley



                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of May, 2017, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification of
filing to the following:
Jeanne M. Hamilton (#16053-49)
SmithAmundsen, L.L.C.
201 North Illinois Street, Suite 1400
Capital Center South Tower
Indianapolis, IN 46204


                                               By: /s/ Louis I. Mussman
                                                       Louis I. Mussman, Esq.




                                           2
